









02-11-356-CV












 
  
  
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


&nbsp;

&nbsp;

NO.
02-11-00356-CV

&nbsp;

&nbsp;


 
  
  Sheila Nance
  
  
  &nbsp;
  
  
  APPELLANT
  
 
 
  
  &nbsp;
  V.
  &nbsp;
  
 
 
  
  BNSF Railway Company
  
  
  &nbsp;
  
  
  APPELLEE 
  
 


&nbsp;

&nbsp;

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&nbsp;

FROM THE 141st District Court OF Tarrant COUNTY

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MEMORANDUM
OPINION[1] AND
JUDGMENT

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&nbsp;

We
have considered appellant's “Agreed Motion To Dismiss
Appeal.”&nbsp; It is the court=s opinion that the motion
should be granted; therefore, we dismiss the appeal.&nbsp; See Tex. R.
App. P. 42.1(a)(1), 43.2(f).

Costs
of the appeal shall be paid by the party incurring the same, for which let
execution issue.&nbsp; See Tex. R. App. P. 43.4.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
PER CURIAM

PANEL:&nbsp;
GABRIEL, J.; LIVINGSTON, C.J.; and DAUPHINOT,
J.&nbsp; 

&nbsp;

DELIVERED:&nbsp;
November 23, 2011 &nbsp;

&nbsp;











[1]See Tex. R. App. P. 47.4.









